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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

  MICHAEL PHAN,

                 Plaintiffs,

  vs.                                           Case No.: 3:14-cv-00083-TJC-PDB

  CREDIT CONTROL SERVICES, INC.,
  d/b/a CREDIT COLLECTION SERVICES,

              Defendant.
  ___________________________________/

        JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

          IT IS HEREBY STIPULATED AND AGREED by and between the parties, by

  and through undersigned counsel, and pursuant to Rule 41(a)(1)(A)(ii) of the Federal

  Rules of Civil Procedure, that this matter shall be dismissed with prejudice, with each

  party to bear its own attorney’s fees and costs.

  Dated: January 7, 2015                              Respectfully submitted,

  /s/Ryan G. Moore________________                    /s/ Charles J. McHale
  Ryan G. Moore                                       Charles J. McHale, Esquire
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